                                  22-mj-2246-TORRES
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Feb 17, 2022                 UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
        Miami
                                      TAMPA DIVISION


  UNITED STATES OF AMERICA


  V.                                         CASE NO. f'. 2-Z. CNr         ^
                                                               46 U.S.C. § 70503(a)
  NELSON SAMUEL REYES QUINONEZ,                                46 U.S.C. § 70506(a) and (b)
  WILSER MARQUINEZ ARAUJO,and
  LUIS CARLOS QUINONES ARROYO

                                        INDICTMENT


            The Grand Jury charges:

                                         COUNT ONE


                Beginning on an unknown date and continuing through and including

  on or about January 12, 2022, in the Middle District of Florida, and elsewhere, the

  defendants,

                           NELSON SAMUEL REYES QUINONEZ,
                            WILSER MARQUINEZ ARAUJO,and
                            LUIS CARLOS QUINONES ARROYO,

  did knowingly and intentionally consphe with other persons, both known and

  unknown to the Grand Jury, to possess with intent to distribute a controlled

  substance, which violation involved five(5)kilograms or more of a mixture and

  substance containing a detectable amount of cocaine, a Schedule II controlled

  substance, while upon the high seas on board a vessel subject to the jurisdiction of

  the United States, and is therefore punished under 46 U.S.C. §§ 70503(a) and

  70506(a) and (b).
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        All in violation of46 U.S.C. §§ 70503(a) and 70506(a) and (b), and 21

 U.S.C. § 960(b)(l)(B)(ii).

                                   COUNT TWO


       Beginning on an unknown date and continuing through and including on or

 about January 12, 2022, in the Middle District of Florida, and elsewhere, the

 defendants,

                      NELSON SAMUEL REYES QUINONEZ,
                       WILSER MARQUINEZ ARAUJO,and
                       LUIS CARLOS QUINONES ARROYO,

 did knowingly and intentionally possess with intent to distribute a controlled

 substance, which violation involved five(5)kilograms or more of a mixture and

 substance containing a detectable amount of cocaine, a Schedule II controlled

 substance, while upon the high seas on board a vessel subject to the jurisdiction of

 the United States, and is therefore punished under 46 U.S.C. §§ 70503(a) and

 70506(a).

        All in violation of46 U.S.C. §§ 70503(a) and 70506(a), 21 U.S.C.

 § 960(b)(l)(B)(ii), and 18 U.S.C. § 2.

                                   FORFEITURE


        1.     The allegations contained in Counts One and Two of this Indictment

 are hereby realleged and incorporated by reference for the purpose of alleging
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  forfeitures pursuant to the provisions of 21 U.S.C. §§ 853 and 881,46 U.S.C.

  § 70507, and 28 U.S.C. § 2461(c).

        2.     Upon their conviction of any ofthe violations alleged in Counts One or

  Tv^o ofthis Indictment, in violation of46 U.S.C. § 70503, the defendants,

                       NELSON SAMUEL REYES QUINONEZ,
                        WILSER MARQUINEZ ARAUJO,and
                        LUIS CARLOS QUINONES ARROYO,

  shall forfeit to the United States, pursuant to 46 U.S.C. § 70507, 21 U.S.C. § 881(a),

  and 28 U.S.C. § 2461(c), any and all property described in 21 U.S.C. § 881(a)(1)

  through (11)that was used or intended for use to commit, or facilitate the

  commission of, such offenses.

        3.     Upon their conviction of any ofthe violations alleged in Counts One or

  Two ofthis Indictment, in violation of 21 U.S.C. § 960, the defendants,

                       NELSON SAMUEL REYES QUINONEZ,
                        WILSER MARQUINEZ ARAUJO,and
                        LUIS CARLOS QUINONES ARROYO,

  shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any property

  constituting, or derived from, any proceeds obtained, directly or indirectly, as a result

  ofsuch offense and any property used, or intended to be used, in any manner or part,

  to commit, or to facihtate the commission of, the offense.

        4.     If any ofthe property described above, as a result of any act or omission

  of the defendants:


               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with a third party;
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              c.     has been placed beyond the jurisdiction of the Court;

              d.     has been substantially diminished in value; or,

              e.     has been commingled with other property, which cannot be

                     divided without difficulty;

 the United States of America shall be entitled to forfeiture of substitute property

 under the provision of 21 U.S.C. § 853(p), directly and as incorporated by 28 U.S.C.

 § 2461(c).


                                         A TRUE BILL,




                                         Foreperson

        ROGER B. HANDBERG
        United States Attorney



 By:
        Lauren N. Stoia
        Assistant United States Attorney


 By:
        Joseph K.^Ruddy
        Assistant United States Attorney
        Chief, Transnational Organized Crime Section
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January 22                            No.

                                     UNITED STATES DISTRICT COURT
                                                Middle District of Florida
                                                     Tampa Division


                                     THE UNITED STATES OF AMERICA


                                                           vs.



                                   NELSON SAMUEL REYES QUINONEZ,
                                    WILSER MARQUINEZ ARAUJO,and
                                    LUIS CARLOS QUINONEZ ARROYO


                                                     INDICTMENT


                            Violations: 46 U.S.C. §§ 70503(a) and 70506(a)& 70506(b)


                                      A true bill,


                                                       oreperson



                                      Filed in open court this 27 day of January 2022.


                                                      Clerk



                                      Bail $.

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                   Nelson Samuel Reyes Quinonez




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                                                                 ARRRST WARRANT

To:         An\ authori/cJ law eiUbrcemcnt ot'liccr


            VOU .ARE CO.MMA.NDED to anvNi anJ hrinu before a Cniled Suites inaui>ir;)iv judge wiihout unnecessary delay
iihmciiiihr«>n u! K-                           Neison Samuel Reyes Quinonez
who is accused of an offense or violation based on the Ibllowing docuincni lllcd \^h the conn:
.vf Indictment                    n Superseding Indiciinent            "1 Information           "I ^^XTscdiiig Information                   H Complaint
n i'rohaiion Violation Petition                        H Super\ised Release Violation I'eiijXm           nx'iolaiion Notice D Order of the Couri
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  Conspiracy with intent to distribute five (5) kiiograms or more of c^aine while on board a vessel subject to the jurisdiction
  of the United States, and possession with intent to distribute five/(o) kilograms or more of cocaine, while on board a vessel
  subject to the jurisdiction of the United Slates.

  In violation of: 46 U.S.C. §§ 70503(a) and 70506(a) and (b)


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                        Wilser Marquinez Araujo




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                                                                    ARRFST VVARR.ANT

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tmnw oi'pcrsoii         /h-                    Wllser Marqulne:-; Araujo
who i.s accused ofan orieiise or violation b;i>ed on the rollowing docunieni llUfd with the court:

     indictment                     "1 Superseding Indicimeni              1 inlormaiion       A Superseding Intbrmaiion                   "I Compiaini
"1 Probation Violation IVtition                         ."1 Supervised Release Violation j/v-iition       D Violation Notice               ~1 Order ofihe Court

This olTense is hriell) ilescribed :is Ibllows:
  Conspiracy with intent to distribute five (5) kilograms or more o]/6ocaine while on board a vessel subject to the jurisdiction
  of the United States, and possession with intent to distribute fj»e (5) kilograms or more of cocaine, while on board a vessel
  subject to the jurisdiction of the United States.

  In violation of: 46 U.S.C, §§ 70503(a) and 70506(a) and




Date:




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                                                                                )        Case No.       Z.Z.                HO
                      Luis Carlos Quinonez Arroyo




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                                                                .ARRHST WARRANT

To:          Anv authorized law entdreeineni ollteer


             YOl' ARE COMM.ANDF.I) lo arrest and hrine before a I 'niied Sial^ magistrate Judge w ithoul unnecessary delay
fiiiiiiu- a//h-rs>-ii in he any.^h\ii         Luis Carlos QuiHonez Arroyo
who is accused ol'an olTcnse or violation lia-ed on ilie I'olUnving docinntyit tiled with the conn:

^ Indiciineii!                   "1 Super.seding indictnieni           1 inlbrmalioiy' "I Superseding Information                         ~l Complaint
-"1 Probation Violation Petition                      "1 Superv ised Kelease \'iola^"»n Petition       "I Violation Notice "I Order of the Court
This offense is brietlv described as follows;

   Conspiracy with intent to distribute five (5) kilograms or mo^ of cocaine while on board a vessel subject lo the jurisdiction
   of the United States, and possession with intent to disthby/e five (5) kilograms or more of cocaine, while on board a vessel
   subject to the jurisdiction of the United Slates.

   In violation of: 46 U.S.C. §§ 70503(a) and 70506(a) a/d (b)


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